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                   EXHIBIT B
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                         Settings
Contact Information
Basic Page Information   Page
                                         Page published
                         Visibility
Timeline
Administration           Page
                                         Page is verified
                         Verification
Photos
                                         Anyone can publish to the Page
Settings                 Visitor Posts
                                         Anyone can add photos and videos to the Page
Videos
                         News Feed
                         Audience
                                        The ability to narrow the potential audience for News Feed and limit visibility on your posts is turned off
                         and Visibility
                         for Posts
                         Messages        People can contact my Page privately.
                         Tagging
                                         Other people can tag photos posted on my Page.
                         Ability
                         Country
                                      Page is visible to everyone.
                         Restrictions
                         Age
                                      Page is shown to everyone.
                         Restrictions
                                         Posts containing these words are blocked: $,a$$,abuse,abusers,aggy,apartment,ass,bastard,bastards,bit
                         Page
                                         card,giftcard,hook,hook
                         Moderation
                                         em,hookem,hell,illuminati,ipaad,ipad2,ipadss,jersey,jetblue,job,lab,md,ms,pad,padds,penis,peta,sale,shit
                         Profanity
                                         Set to medium
                         Filter
                         Post in
                         Multiple        Ability to write posts in multiple languages is turned off
                         Languages
                         Translate
                                       Your posts may show translations automatically for people who read other languages
                         Automatically
                         Comment
                                         Most relevant comments are shown for my Page by default.
                         Ranking
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                         Administration
Contact Information
Basic Page Information   Name       Role
Timeline                            Admin
Administration                      Editor
Photos
                                    Analyst
Settings
                                    Admin
Videos
                                    Editor
